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 2                                                              The Honorable Judge Robert J. Bryan
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                                 UNITED STATES DISTRICT COURT
10                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
11

12   UNITED STATES OF AMERICA,                            NO. CR09-5452 RJB

13                                  Plaintiff,
14      v.
                                                           ORDER ALLOWING WITHDRAWAL
15                                                         AND SUBSTITUTION OF COUNSEL
     MARIA OSEGUERA-LOPEZ,
16
                                    Defendant.
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18
             THIS MATTER having come on regularly before the above-entitled Court upon the
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     Motion for Withdrawal and Substitution of Counsel for Maria Oseguera-Lopez, the Court
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     having considered the Motion and the Declaration of Michele Shaw in support of the Motion for
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22   Withdrawal and Substitution of Counsel, the Court having reviewed the files and records of this

23   proceeding and in all respects being fully advised, now, therefore, it is hereby

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25
     ORDER ALLOWING WITHDRAWAL AND                                    MICHELE SHAW, P.S.
     SUBSTITUTION OF COUNSEL- 1                                           Attorney at Law
                                                                    2003 Western Avenue, #330
                                                                        Seattle, WA 98121
                                                                      (206) 448-9612 (phone)
                                                                       (206) 448-2252 (fax)
                                                                   michele@micheleshawlaw.com
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 1          ORDERED that Charles A. Johnston, current Attorney of record for Maria Oseguera-
 2   Lopez, is withdrawn as counsel of record effective immediately and that Michele Shaw shall be
 3
     allowed to substitute in as Attorney of record for Maria Oseguera-Lopez.
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            IT IS SO ORDERED this 22nd day of February, 2010.
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                                         A
                                         ROBERT J. BRYAN
                                         United States District Judge
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14   Presented by:

15     s/ Michele Shaw
     MICHELE SHAW, WSBA #19561
16   Law Office of Michele Shaw
     2003 Western Ave., #330
17   Seattle, WA 98121
     Telephone: (206) 448-9612
18
     Fax: (206) 448-2252
19
     Email: michele@micheleshawlaw.com

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     ORDER ALLOWING WITHDRAWAL AND                                  MICHELE SHAW, P.S.
     SUBSTITUTION OF COUNSEL- 2                                         Attorney at Law
                                                                  2003 Western Avenue, #330
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